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                     UNITED STATES BANKRUPTCY COURT
                DISTRICT OF SOUTH CAROLINA (CHARLESTON)
________________________________
IN RE:                           )
                                 )
JACQUELINE ELIZABETH ARD and )              Case No. 24-03611-jd
TERRY FRANK NICOLA               )          Chapter 13
       Debtors.                  )
________________________________ )
  PROPOSED ORDER RESOLVING DEBTOR'S MOTION FOR DAMAGES BASED
 ON CONTEMPT AND WILLFUL VIOLATION OF THE AUTOMATIC STAY AND
    AMENDED DEBTOR'S MOTION FOR ADDITIONAL DAMAGES BASED ON
                                 CONTEMPT

           This matter is before the Court on the Motions for Damages filed by Debtors Jacqueline
    Elizabeth Ard and Terry Frank Nicola (the “Motions”) 1, pertaining to a vehicle that was
    removed from the Debtor’s residential property at the Estate at Westbury Owner’s Association,
    Inc., (hereinafter “EAW”) in Bluffton, South Carolina, during the pendency of their now
    dismissed bankruptcy. EAW, as to its alleged liability, as well as the alleged liability of its
    agents, specifically Attorney Julie A. Franklin, Attorney Evan K. Bromley, board members
    Matthew Paul, President, Janet Spinelli, Vice-President, Ralph Paine, Secretary, John Curtis,
    Treasurer, and Debra Schumann, Member at Large, filed oppositions with the Court regarding
    same. 2 The Court scheduled and conducted a hearing on March 26th, 2025 at 2:00PM on the
    above-referenced matters filed, attended by Debtor Jacqueline Ard, pro se, Attorney Julie A.
    Franklin on behalf of EAW, its agents and board members, and Attorney Evan K. Bromley,
    appearing on his own behalf. After considering the evidence presented in said hearing, the
    arguments raised by the parties, the Motions, Oppositions and all other matters at issue filed in
    the case as to the parties regarding the above, finding good cause shown,

           NOW THEREFORE, it is ordered that:

           The motion(s) filed by Debtor(s) are denied with prejudice as to all named creditors,

    agents and/or assigns as referenced more fully herein.

    AND IT IS SO ORDERED.




1
    ECF 77, 87, and 90.
2
    ECF 81, 93, and 100.
